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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

IN RE: TAXOTERE (DOCETAXEL)               )                     MDL No. 2740
PRODUCTS LIABILITY LITIGATION             )
                                          )                     SECTION: “N” (5)
                                          )
THIS DOCUMENT RELATES TO:                 )
ALL ACTIONS                               )

                        CASE MANAGEMENT ORDER NO. 5
              (GENERAL DISCOVERY PROTOCOL – SANOFI DEFENDANTS)



   In an effort to coordinate discovery and meet the Court’s scheduling order for trials, the

Parties submitted competing drafts of a proposed General Discovery Order to govern the

captioned litigation. After convening two status conferences at which counsel for the Parties

were heard on their respective positions regarding the conduct of general discovery, the

Court now hereby Orders as follows:

1. Applicability of Order. The following procedures and schedules will govern general

   discovery on Defendants Sanofi S.A., Aventis Pharma S.A., sanofi-aventis U.S. LLC, Sanofi

   US Services Inc. (hereinafter collectively “Sanofi Defendants”). No Party may conduct any

   discovery of Defendants not expressly authorized by this Order absent further Order of

   this Court or express agreement of the Parties. The Federal Rules of Civil Procedure shall

   apply to these proceedings, subject to provisions permitting Court orders or stipulations

   by the Parties to make appropriate modifications.           Pretrial Order Number 49

   (Electronically Stored Information Protocol) and Pretrial Order Number 50 (Protective

   Order) shall apply to all discovery under this Order. The discovery authorized by this

   Order is hereinafter referred to as “general discovery,” and is subject to the limitations

   set forth below.
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2. General Provisions.

 a.    Except as expressly set forth herein, this Order shall not limit or prejudice any Party’s

       rights under the Federal Rules of Civil Procedure, the Federal Rules of Evidence, or

       the Local Rules of this Court. However, the Court specifically notes that the provisions

       of this Order obviate (1) any applicable specifications on timing and sequencing of

       discovery set forth in FRCP Rule 26(d), and (2) any applicable obligation of a Party to

       this proceeding to comply with the conference and planning requirements of FRCP

       Rule 26(f).

 b.    The Parties may modify this Order by written agreement without Court order or,

       absent written agreement, seek to modify this Discovery Plan by motion for good

       cause after making a good faith effort to meet and confer.

 c.    The Parties may agree to, and the Court may enter, Trial Scheduling Orders from time

       to time for specific trials.      These scheduling orders are meant to govern the

       circumstances of particular trials only and are in addition to the provisions contained

       herein.

 d.    Discovery Conferences. The Parties shall promptly meet and confer in good faith

       regarding any discovery disputes before seeking the Court's intervention.             To

       facilitate this process, the Parties shall employ the procedures set forth in this

       Paragraph.

           i. A monthly discovery meet and confer call among Plaintiffs and the Sanofi

                 Defendants shall take place on the second Thursday of every month at 3:00

                 p.m. CT. At or before noon on Wednesday preceding each such call, the Parties

                 shall each submit a written list of topics to be addressed on that call.


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          ii. A separate monthly status call with the Magistrate Judge shall be scheduled to

             address and resolve discovery issues discussed among the Parties, and to keep

             the Court generally advised on the progress of discovery. The Parties may

             request more frequent conferences, as necessary, or advise the Magistrate

             Judge that a separate monthly status call is not necessary. To avoid surprise,

             and absent extreme circumstances, the Parties agree to only introduce issues

             to the Court that have been previously discussed during a meet and confer

             with opposing counsel.

          iii. At least three business days before each monthly status call, the Parties must

             jointly provide the Magistrate Judge with a list of topics being submitted for

             decision, discussion, or informal guidance, or provide notice that the call is not

             needed.

          iv. The Party seeking guidance may provide the Magistrate Judge and all Parties

             a letter, not to exceed three pages single-spaced, outlining the issues and the

             Party’s position on those issues no later than three business days prior to the

             status call. Any Party may respond by letter, not to exceed three pages single-

             spaced, outlining that Party's position no later than noon CT on the business

             day prior to the telephone conference. The letters should not be filed with the

             Court, but should be e-mailed to all Parties when they are provided to the

             Magistrate Judge.     No further submissions regarding an issue may be

             submitted without leave of the Court.

e.    Coordination of Discovery. The Parties shall coordinate discovery to the extent

      reasonably possible.


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  f.    All general discovery propounded to the Sanofi Defendants by Plaintiffs in this MDL

        proceeding pursuant to this Order, including deposition notices, interrogatories,

        requests for admission, and production requests, shall be undertaken by, or under the

        direction of, the Plaintiffs’ Steering Committee on behalf of all Plaintiffs with cases in

        these MDL proceedings. Any discovery not limited to a specific Plaintiff shall be

        assigned by the PSC.

3. Electronically Stored Information and Information Exchange. The ESI Protocol

   established in Pretrial Order No. 49, entered on July 5, 2017, shall govern the production

   of ESI documents and data in this litigation. The Parties subject to a trial scheduling order

   shall exchange the specific information identified in Section IV.E. of the ESI Protocol

   within 30 days of a scheduling order of the Court.

4. Written Discovery. Unless otherwise ordered by the Court or agreed to by the Parties,

   the numerical limitations on written discovery requests set forth in the Federal Rules of

   Civil Procedure shall apply to discovery conducted under this Protocol.

5. Numerical Limits on Deposition of Defendants. Plaintiffs may take up to thirty (30)

   depositions of the Sanofi Defendants, including depositions of current and former

   employees and Rule 30(b)(6) depositions.            Trial depositions related to any Case

   Management Order scheduling a trial date are not counted against this limitation on the

   number of depositions. The Parties will meet and confer regarding the identification of

   such witnesses and the scheduling of their depositions. For good cause shown, Plaintiffs

   may seek additional depositions. The Parties may agree to additional depositions if

   conducting those depositions will not upset any schedule set by the Court.                Any

   additionally noticed 30(b)(6) deposition shall count as one witness provided the topics


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      included within the 30(b)(6) Notice of Deposition are sufficiently related. Depositions

      shall be limited to no more than 7 hours on the record per deposition without leave from

      the Court or agreement of the Parties.

      a.       Defendants’ deposition allowance shall be governed by Pretrial Order No. 22 and

               the individual trial scheduling orders. Unless good cause is shown, Defendants

               should not commence discovery of Plaintiffs not subject to a trial scheduling

               order. The seven-hour on the record time limit shall apply to depositions taken

               by Defendants unless altered by the Court or by agreement of the Parties.

      b. The Parties shall establish a deposition protocol. The agreed protocol, or absent

           agreement competing protocols, shall be submitted to the Magistrate Judge. A

           protocol not having been entered will not delay the taking of depositions in this

           matter.

6. Timing of Discovery.

           a. Within ten days after the date of this Order, Defendants shall produce without

               further request:

                     Organizational charts for the years 1999 – 2015 that include all persons

                      with direct responsibility for Taxotere (Docetaxel); and

                     A complete list of distributors to whom each defendant sold Taxotere or

                      Docetaxel for the years 1999 to present.

 i.        With respect to the jurisdictional discovery propounded upon Sanofi S.A. and Aventis

           Pharma S.A. by Plaintiffs, within 7 days after the Court rules on the protective

           order/objections to Plaintiffs’ motion to compel discovery based on the French

           Blocking statute, Hague service, and French data production, as applicable, these


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        foreign entities (the “French Defendants”) shall make their productions as ordered by

        the Court.

 ii.    The Plaintiffs may propound merits discovery at any time, subject to any additional

        deadlines set by the Court. The Sanofi Defendants shall produce (non-case-specific)

        documents and information to the PSC for use of Plaintiffs in this MDL proceedings.

iii.    Subject to any objections, the Sanofi Defendants shall produce materials responsive

        to requests on a rolling basis, and the Parties shall meet and confer at least monthly

        regarding production status (PTO 49, Section V.), until productions are complete in

        accordance with FRCP 26(g). Such productions shall be substantially completed no

        later than sixty (60) days from the service of the requests, or (1) within such

        reasonable time to be determined by Plaintiffs and the Defendants after any

        objections to specific requests are resolved or (2) within such time as determined by

        the Court.

iv.     Pretrial Order Number 49, Section IX, governs procedures regarding claims of

        privilege and redactions and the content and timing of privilege logs, with one

        exception. Due to the Court-ordered time period for the initial trials to begin in

        September 2018, this Order amends Section IX.C.1. to shorten the timing of service of

        the privilege logs from 75 days to within 45 days of production.

 v.     A Party wishing to challenge an asserted privilege may do so at any time by notifying

        the asserting Party that the privilege is being challenged. If no agreement is made

        with regard to the disputed privilege, either Party may bring the issue up for the next

        regularly scheduled conference or call with the Magistrate Judge or request expedited

        consideration if the Party in good faith deems such consideration necessary.


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 vi.      Documents Produced by Parties – Presumption of Authenticity. In order to

          reduce the number of requests for admission, this Order establishes a rebuttable

          presumption that documents produced by the Parties are authentic, if said documents

          were either created or authored by the producing Party, or any of its employees,

          agents or contractors, so long as the agent or contractors’ work was performed in

          connection with a project, assignment or clinical trial sponsored by the producing

          Party. No further evidence to establish authenticity need be provided.

9. Third-Party Discovery. Third-party discovery initiated by any Party subject to this

       Protocol may commence immediately and is not limited by this Order. The requesting

       Party shall produce to all other Parties any responses and productions received by them

       during the course of third-party discovery at a reasonable cost of reproducing them,

       accounting for the form in which the initial production is received.

10. Fact Discovery Deadline. The Parties are cognizant of the first trial date in this MDL is

       September 24, 2018. See CMO No. 3. Completion of fact discovery for any Plaintiff

       selected for trial shall be governed by the individual trial scheduling orders. The Parties

       are reminded by the Court of their respective obligations to conduct general discovery in

       a manner proportional to the needs of all cases, including those set for trial, consistent

       with the provisions of this Order. With this is mind, general liability fact discovery shall

       be completed by December 15, 2018. This deadline may be extended by the Court for

       good cause shown by any Party.

11. Resolution of Disputes under this Protocol. If a dispute arises under this Protocol that

       the Parties cannot resolve after good-faith efforts in a meaningful meet-and-confer

       session or sessions, they are to immediately contact the chambers of the Magistrate


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Judge, who will thereafter resolve the matter with the Parties’ input consistent with

sections 2(D)(iii-iv) of this Protocol.

New Orleans, Louisiana, this     23rd     day of         August               , 2017.




                                                  MICHAEL B. NORTH
                                            UNITED STATES MAGISTRATE JUDGE




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